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           EXHIBIT 1
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      I.        Plaintiffs respectfully request that the following facts be established for purposes of

                this action:

           A.       Defendant Kline

           1.       Defendant Kline was a member of Identity Evropa from April 2017 through at

                    least August 2017.

           2.       Defendant Kline was one of the leaders of Identity Evropa from April 2017

                    through at least August 2017.

           3.       Defendant Kline entered into an agreement with one or more co-conspirators to

                    plan the Unite the Right event that took place in Charlottesville, Virginia on

                    August 11 and 12, 2017.

           4.       Defendant Kline entered into an agreement with one or more co-conspirators to

                    engage in racially motivated violence in Charlottesville, Virginia on August 11,

                    2017.

           5.       Defendant Kline entered into an agreement with one or more co-conspirators to

                    engage in racially motivated violence at the Unite the Right event in

                    Charlottesville, Virginia on August 12, 2017.

           6.       Defendant Kline was motivated by animus against racial minorities, Jewish

                    people, and their supporters when conspiring to engage in acts of intimidation and

                    violence on August 11 and 12, 2017 in Charlottesville, Virginia.

           7.       It was reasonably foreseeable to Defendant Kline and intended by him that co-

                    conspirators would commit acts of racially-motivated violence and intimidation at

                    the torch light event in Charlottesville, Virginia on August 11, 2017.




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         8.    It was reasonably foreseeable to Defendant Kline and intended by him that co-

               conspirators would commit acts of racially-motivated violence and intimidation at

               the Unite the Right event in Charlottesville, Virginia on August 12, 2017.

         9.    It was reasonably foreseeable to Defendant Kline and intended by him that a co-

               conspirator would engage in racially-motivated violence by intentionally driving a

               car into a crowd of counter-protestors on August 12, 2017.

         10.   Defendant Kline committed multiple overt acts in furtherance of the conspiracy

               he entered into to commit racially-motivated violence at the Unite the Right event

               in Charlottesville.

         11.   Defendant Kline attended the torch light march on August 11, 2017 and

               committed acts of intimidation and violence in furtherance of the conspiracy.

         12.   Defendant Kline attended the Unite the Right event on August 12, 2017 and

               committed acts of intimidation and violence in furtherance of the conspiracy.

         13.   After the Unite the Right event in Charlottesville, Virginia on August 11 and 12,

               2017, Defendant Kline ratified the racially-motivated violence that occurred at the

               event.

         B.    Defendant Heimbach

         14.   Defendant Heimbach was a member of Traditionalist Worker Party from April

               2017 through at least August 2017.

         15.   Defendant Heimbach was the leader of Traditionalist Worker Party from April

               2017 through at least August 2017.

         16.   Defendant Heimbach entered into an agreement with one or more co-conspirators

               to plan the Unite the Right event that took place in Charlottesville, Virginia on



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               August 11 and 12, 2017.

         17.   Defendant Heimbach entered into an agreement with one or more co-conspirators

               to engage in racially motivated violence in Charlottesville, Virginia on August 11,

               2017.

         18.   Defendant Heimbach entered into an agreement with one or more co-conspirators

               to engage in racially motivated violence at the Unite the Right event in

               Charlottesville, Virginia on August 12, 2017.

         19.   Defendant Heimbach was motivated by animus against racial minorities, Jewish

               people, and their supporters when conspiring to engage in acts of intimidation and

               violence on August 11 and 12, 2017 in Charlottesville, Virginia.

         20.   It was reasonably foreseeable to Defendant Heimbach and intended by him that

               co-conspirators would commit acts of racially-motivated violence and

               intimidation at the torch light event in Charlottesville, Virginia on August 11,

               2017.

         21.   It was reasonably foreseeable to Defendant Heimbach and intended by him that

               co-conspirators would commit acts of racially-motivated violence and

               intimidation at the Unite the Right event in Charlottesville, Virginia on August

               12, 2017.

         22.   It was reasonably foreseeable to Defendant Heimbach and intended by him that a

               co-conspirator would engage in racially-motivated violence by intentionally

               driving a car into a crowd of counter-protestors on August 12, 2017.

         23.   Defendant Heimbach committed multiple overt acts in furtherance of the

               conspiracy he entered into to commit racially-motivated violence at the Unite the



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                     Right event in Charlottesville.

            24.      Defendant Heimbach attended the Unite the Right event on August 12, 2017 and

                     committed acts of intimidation and violence in furtherance of the conspiracy.

            25.      After the Unite the Right event in Charlottesville, Virginia on August 11 and 12,

                     2017, Defendant Heimbach ratified the racially-motivated violence that occurred

                     at the event.

      II.         Plaintiffs respectfully request that all documents Plaintiffs have a good faith basis to

                  believe were in fact created by Defendants Kline or Heimbach be deemed “authentic”

                  for purposes of satisfying Rule 901 of the Federal Rules of Evidence. In particular,

                  Plaintiffs have a good faith basis to believe that the following social media accounts,

                  identified by the platform name, followed by the handle (or username), belong to

                  Defendants Kline and Heimbach, respectively. Plaintiffs respectfully request that all

                  documents from the following social media accounts be deemed “authentic” for

                  purposes of satisfying Rule 901 of the Federal Rule of Evidence:

            A.       Defendant Kline

            1.       Discord - Eli Mosley#5269

            2.       Discord - Sayer

            3.       Discord - Sayer#5269

            4.       YouTube - Eli Mosley

            5.       Facebook - Eli Mosley

            6.       Twitter - @EliMosleyIE

            7.       Twitter - @ThatEliMosley

            8.       Twitter - @EliMosleyOH



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         9.    Twitter - @EliMosleyIsBack

         10.   Twitter - @Sheli_Shmosley

         11.   Twitter - @Eli_Mosley_

         12.   Gab - @EliMosley



         B.    Defendant Heimbach

         1.    Discord - MatthewHeimbach

         2.    Discord - MatthewHeimbach#4345

         3.    Twitter - @HeimbachMatthew

         4.    Twitter - @MatthewHeimbach

         5.    VK - MatthewHeimbach

         6.    Facebook - Matthew Heimbach

         7.    Facebook - Matthew Warren

         8.    Gab - @MatthewWHeimbach

         9.    Gab - @ActualMatthewHeimbach




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